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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

         -------------------------------------------------------------- x
         In re                                                          :    Chapter 15
                                                                        :
                                                     1
         Crystallex International Corporation                           :    Case No. 11-14074 (LSS)
                                                                        :
         Debtor in a Foreign Proceeding.                                :    Ref. Docket No. 147
         -------------------------------------------------------------- x

                                               SECOND STATUS REPORT

                          Crystallex International Corporation, in its capacity as the court-appointed foreign

         representative (the “Foreign Representative”) for the above-captioned debtor (the “Debtor” or

         “Crystallex”) in a proceeding (the “Canadian Proceeding”) under Canada’s Companies’

         Creditors Arrangement Act, R.S.C. 1985, c. C-36, as amended, pending before the Ontario

         Superior Court of Justice (Commercial List) (the “Canadian Court”), respectfully submits this

         report at the request of the Court.

                      EVENTS SINCE THE FILING OF THE FIRST STATUS REPORT2

         I.      The Arbitration

                          1.       Since submitting post-hearing briefs in May of 2014, the Arbitration

         Facility of the International Center for Settlement of Investment Disputes (the “Tribunal”)

         requested additional documentation and briefing submissions and held an impromptu hearing in

         November of 2014. On April 4, 2016, an award was issued to Crystallex against the Bolivian

         Republic of Venezuela by the Tribunal. The award was in the amount of US $1.202 billion plus

         interest thereon calculated from April 13, 2008.

         1
                 The last four digits of the Debtor’s United States taxpayer identification number are 2628. The Debtor’s
                 executive headquarters are located at 8 King Street East, Suite 1201, Toronto, Ontario, Canada M5C-1B5.
         2
                 The first status report was filed on October 13, 2014 [Docket No. 147] (the “First Status Report”) and is
                 attached hereto as Exhibit A. Capitalized terms used herein, but not otherwise defined, have the meaning
                 given to them in the First Status Report.

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         II.    DIP Financing

                        2.      Since this Court’s entry of the order dated February 3, 2015 [Docket No.

         162], there have been no additional orders of the Canadian Court further amending the DIP

         Credit Agreement. The Debtors are utilizing the funds to meet their obligations and to pursue

         confirmation and enforcement of the award described under item 1. The Canadian Court-

         appointed monitor in the Canadian Proceeding has determined that Crystallex has funds

         sufficient to meet its needs until at least the end of 2016.

         III.   Standstill Terms

                        3.      Following negotiations in 2013 among the Debtor, Computershare Trust

         Company of Canada, in its capacity as trustee (the “Trustee”), members of the Ad Hoc

         Committee of Noteholders (the “Ad Hoc Committee”), and Tenor Special Situation Fund I,

         LLC, such parties consented to the Canadian Court’s entry of the Stay Extension and Standstill

         Order of the Canadian Court, dated June 5, 2013 (as may be amended, the “Standstill Order”).

         This Court recognized and enforced the Standstill Order by order dated June 19, 2013 [Docket

         No. 124].

                        4.      Pursuant to the Standstill Order and a post-petition financing order, from

         June 5, 2013, until December 31, 2015, there was a standstill by and among the Debtor, the

         Trustee, and the Ad Hoc Committee on the terms set forth in the Standstill Order. The Standstill

         Order expired on December 31, 2015 and was not renewed.



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         Dated: June 15, 2016            YOUNG CONAWAY STARGATT & TAYLOR, LLP
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